









Dismissed and Opinion filed January 16, 2003









Dismissed and Opinion filed January 16, 2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO.
14-02-01083-CR

____________

&nbsp;

FRANK
BISHARA BERREVETTE, Appellant

&nbsp;

V.

&nbsp;

THE
STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On
Appeal from the 262nd District Court

Harris
County, Texas

Trial
Court Cause No. 899,170

&nbsp;



&nbsp;

M
E M O R A N D U M&nbsp;&nbsp; O P I N I O N

After a guilty plea, appellant received deferred adjudication
probation on January 14, 2002.&nbsp; On May
22, 2002, appellant was adjudicated guilty of the offense of burglary of a
habitation and sentenced to five years= confinement in the Texas Department
of Criminal Justice--Institutional Division.&nbsp;
No motion for new trial was filed.&nbsp;
Appellant=s notice of appeal was not filed until September 26, 2002.








A defendant=s notice of appeal must be filed within thirty days after
sentence is imposed when the defendant has not filed a motion for new
trial.&nbsp; See Tex. R. App. P. 26.2(a)(1).&nbsp; A notice of
appeal which complies with the requirements of Rule 26 is essential to vest the
court of appeals with jurisdiction.&nbsp; See
Slaton v. State, 981 S.W.2d 208, 210 (Tex. Crim. App. 1998).&nbsp; If
an appeal is not timely perfected, a court of appeals does not obtain
jurisdiction to address the merits of the appeal.&nbsp; Under those circumstances it can take no
action other than to dismiss the appeal.&nbsp;
See id.

Accordingly, the appeal is ordered dismissed. 

&nbsp;

PER CURIAM

Judgment rendered and Opinion
filed January 16, 2003.

Panel consists of Justices Yates,
Anderson, and Frost. 

Do Not Publish C Tex. R.
App. P. 47.2(b).

&nbsp;





